Case 1:18-cr-20889-JEM Document 41-1 Entered on FLSD Docket 03/11/2019 Page 1 of 48

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United States Attorney's Office
Southern District of Flo)

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CASE
NO. 18-20889-CR-JEM

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STATE OF SOUTH DAKOTA
Permit to Carry a Concealed Pistol
JOHN J DOE
500 ANYWHERE STREET
PIERRE SD 57501
PERMIT: 111222
DOB: 1/13/1955 WGT: 213
HGT: 6/00 EYES: GREEN
HAIR: BROWN EXPIRES: 1/13/2011

 

 

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CASE

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NO. 11
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Regular Concealed Carry Permit

PERMITNO. 123456789101112 ISSUED: 1/12/2017
DOB: 1/1/1998 EXPIRES: 1/12/2022

JOHN J JONES

4747 NW Gateway Ave, APT 5
Riverside, MO 64150-9519

HEIGHT: 6 HAIR: Brown
WEIGHT: 176 EYES: Blue

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EXHIBIT

CASE
NO. 18-20889-CR-JEM

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OTHER AGENCY CASE # MIAMI BEACH POLICE M.B.P.D. CASE i
VEHICLE STORAGE RECEIPT _
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LETS) 2E1 CH EB 349.7 You Bile Ocean CT
ICENSE EAA STATE TAG NUMBER WRECKER SERVICE ————~SCS<«;7;7;<;<;<C;«<C;<CS;<CS;!
TAG
INFORMATION Wwemon + Ic OU) ag bn
NAME REASON
REGISTERED i FOR (CO) ACCIDENT Donver ARRESTED = RECOV. STOLEN VEHICLE
ower = DAVIA OG old ammer TOW [J ABANDONED [1] PARKING Corer
ADDRESS PHONE NO. ““WESSAGE CENTER INFORMATION ) =~ SS
NCIC
cic
DRIVER OF r me
VEHICLE nin
ADDRESS PHONE NO,
a VEHICLE PROPERTY INVENTORY
TRUNK LOCKED |] SPARETIRE || RADIO INCAR C-B RADIO TAPE PLAYER || TELEPHONE Yep yo
YES YES 5 ES 0 YES i KEY IN IGNITION yp
o 0 NO 0 NO NO REGISTRATION PAPERS IN CAR ye Oo
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ALTERNATOR SEAT(S) FENDER(S)
= BATTERY TIRE(S) ROOF(S)
= m 1] © | 8 | other visibie Dameg
| VEHICLE HOLDS | HOLD VEHICLE UNDER AUTHORITY OF:
[1] FLORIDA [] EVIDENTIARY OURRENT
OFFICER ee: FORFEITURE ACT MATERIAL INVESTIGATION
PLADING PRINT NAME erst ELE? LOW HOLD FOR:
eye Cit to ([] IMPOUNDS UNIT — REF CONFISCATION
HOLD : Agta nt? [J ACCIDENT INVESTIGATION UNIT
SHATURE j 95 Quy" DATE [—] ©... INVESTIGATION — DET.
Qe ‘{ (J S..U. INVESTIGATION — DET.
SUPERVISOR MARINE PATROL UNIT
APPROVAL FOR INFORMATION CALL MBPD IMPOUNDS UNIT — 673-7815
SIGNATURE DATE SPECIAL VEHICLE STORAGE: [7] yes [7] no

 

 

SPECIFIC LEGAL JUSTIFICATION
TO HOLD VEHICLE (narrative):

 

BERGHE RU BARA ERE ESRB ORR OOD REAR

 

 
 

 

 
 

ANY VEHICLE HOLD REQUIRES DETAILED
JUSTIFICATION AND SUPERVISOR'S APPROVAL

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IMPOUND UNIT ance - ib USED
TAG: — YR STATE
DATE/TIME RELEASED CASE

VIN: ¥ NO. 18-20889-CR-JEM
CONDITION: Gold 2
COMMENTS: VERIFIED BY:

 

 

 

DISTRIBUTION: White/MBPD Impound Unit Blue/Officer Green/ MBPD Records Canary/Tow Co. Pink/ Tow Co, Gr
Case 1:18-cr-20889-JEM Document 41-1 Entered on FLSD Docket 03/11/2019 Page 14 of 48

 

 

 

 

 

 

 

 

 

 

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ADDRESS AND EXACT LOCATION WHERE PROPERTY WAS ORIGINALLY IMPOUNDED
400 Bie Ocean CT Miami bedi | 33134
DISCOVERED BY (NAME) ADDRESS CITY STATE 2iP TEL #
Manuel Tas MBPD

 

 

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David Dames Guidammer 3
SUBJECT NAME INCARCERATED DIVES (Jno D.O.B. ADDRESS CITY STATE ZP

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Thereby acknowledge the above represents all property taken | performance of duty asa law “Uy in port Personnel as defined in F.S.S 943.10.

from my possession and | have recelved a copy of this receipt,
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SIGNATURE IMPOUNDING OFFICER (PRINT) SIGNATURE UNIT ~ METRO ID
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Mraavel Tas MAPD
NAME OWNER @ vicrmlJ ADDRESS CITY STATE zip TEL H
Dayicl ames Golcamo g
SUBJECT NAME | wcARCERATED ES (no 0.0.8. ADDRESS CITY STATE ZIP
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performance of duty as a Law Enforcement Officer or Support Personnel as defined in F.S.5 943.10.

 

 

 

 

 

 

 

 

 

 

 

 

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PRINT NAME

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MIAMIBEACH

 

 

INCIDENT ah TIME:

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PROPERTY RECEIPT

 

 

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TYPE OF CASE:

 

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NAME owner) vic V ADDRE ELH
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MIAMIBEACH

CASE #

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PROPERTY RECEIPT

 

INCIDENT DATE: TIME:

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TYPE OF CASE:

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ADDRESS AND EXACT LOCATION WHERE PROPERTY WAS ORIGINALLY IMPOUNDED
(400 Bik of Ocean Cd Mian’ Beach, FL 33139
DISCOVERED BY (NAME) ADDRESS CITY STATE zip TEL a
Manvel Jas MBPD
NAME owner O& — vicriml_) ADDRESS
David James, Gilda ¥
SUBJECT NAME wwearcerateo (Rives rT) 0.0.8. ADDRESS CITY STATE Zip
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SIGNATURE IMPOUNDING OFFICER (PRINT) SIGNATU HE UNIT METRO ID
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REVISED MAY 2013

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SUBJECT: TOWED / IMPOUNDED

disabling damaged incurred in a

VEHICLES motor vehicle traffic accident.
6. A vehicle is parked, unattended,
$.0.P. | #133 upon any bridge, causeway or via-
duct.
Accreditation : a :
Standards: 61.1.11; 61.4.3ab,c 7. The driver of a vehicle is taken into
custody and the vehicle would be
PURPOSE: To establish procedures for the im- left unattended on the street.
pound, tow, inventory, storage, hold, and release a. The officer must give the per-
of abandoned, stolen, seized, crime scene or ar- son having custody and con-
restee-operated vehicles / vessels. trol of the vehicle a reasonable
opportunity, in light of the cir-
SCOPE: This SOP applies to all employees of cumstances, to provide for
the Department. removal! of the vehicle within a
reasonable amount of time. If
POLICY: The Department's policy is to ensure the driver is unable to provide
compliance with the legal requirements when ve- for removal and elects to allow
hicles are required to be moved by the direction of the vehicle to remain in place
Department employees. (if legally parked), the driver /
owner must sign an “Owner /
PROCEDURE: Driver Release” Form (See
Form 015-W). If the owner /
|. Legal Authority driver refuses or is unable to
A. Police officers or authorized non-sworn sign the release, the vehicle
employees possess legal authority to must be towed. [1.1.14]
remove vehicles / vessels from road- 8. The vehicle has been stolen or
ways / from waterways and public prop- used in the commission of a crime.
erty for the following reasons: [61.4.3a,b] 6 The.WeKIaeNesUseatECte Xen:
1. It is necessary to provide for the mission of a felony and seized in
safety and security of the vehicle or accordance with the Florida Con-
the public. traband Forfeiture Act.
2. The vehicle is {eft upon a street and 40. A vehicle is found upon city streets
is parked illegally so as to consti- and does not bear a license tag
tute a definite hazard or obstruction (FSS 316.605(1)).
to the normal movement of traffic. - ‘
11. It is necessary to provide for the
3. An unauthorized vehicle is parked, safety and security of the vessel or
unattended, within a designated the public.
oie io data ne | 12. The vessel is found abandoned on
ing for wheelchair drivers only” any waterway in the State of Flor-
space in violation of FSS, ida, or when a vessel has been
316.1955, 316.1956, or Miami- damaged and constitutes a hazard
Dade Ordinance 30-447. tonevigation.
4. The vehicle is abandoned, parked, 13. The vessel has been stolen or used
—— or stored on the public trafficway in the commission of a crime.
GOVERNMENT for a period exceeding 48 hours, in 14. The vessel has been used in the
EXHIBIT other than designated parking ar- commission of a felony and is con-
eas, and within 30 feet of the road- fiscated in accordance with the
eae way or pavement edge determined Florida Contraband Forfeiture Act.
NO. not to be private property. ‘ .
-_18- 15. The vessel operator is taken into
5. As aresult of severe injury or death police custody and the vessel

EXHIBIT”
NO.

 

to the driver / occupant(s) and / or

would be left unattended in the wa-

 

Effective Date: 0703/00
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ter or in the control of an incapable
operator.

Florida State Statute 715.07 regulates
the impounding of vehicles / vessels
from private property when requested by
the property owner or authorized agent.
The statute is civil in nature. Police ac-
tion to remove such vehicles / vessels is
NOT authorized and shail not be under-
taken unless:

4. Accourt order has been issued or it
is determined that the vehicle is
stolen or has been used in the
commission of a crime and a war-
rant has been obtained.

2. Officers can assist property owners
by providing the name and address
of the vehicle owner, if the informa-
tion is available.

3. Property owners will be advised to
seek legal advice on the proper
posting of their property to allow
the towing of abandoned or dis-
abled vehicles.

I], Civil Liability

A.

Mishandling of towed or impounded ve-
nicles / vessels may result in civil liability
for the City and the Department em-
ployee concerned.

Civil liability may be incurred by the City
and Department employee concerned
by not releasing a vehicle to an individ-
ual who is legally entitled to recover it.

Neither the City nor the Department
employees concerned shall be held li-
able for any damage to, theft of, or theft
from a vehicle when the owner or driver
has elected not to remove the vehicle.

lll. Towing of Vehicles Following Arrest

3. A rotation wrecker will be called via
PSCU.

4. The vehicle will be inventoried prior
to removal to account for all
equipment and property.

B. When the operator of a vehicle is ar-

rested and the vehicle is to be released
the following apply:

41. A vehicle clearance check shall be
made to determine its status and
owner information.

2. The vehicle may be released to a
person designated by the driver,
who possesses a valid driver's li-
cense who may, if mentally and
physically capable, take posses-
sion and move the vehicle.

3. Company owned vehicles will only
be released to an authorized des-
ignee of the company.

4. The vehicle may be parked and
locked if lawful and not a hazard,
and later removed within a reason-
able length of time not to exceed
48 hours, in a manner provided by
the driver.

5. The officer will complete an “Owner
/ Driver Release Form” and a dis-
claimer of liability on the record's
(yellow) copy of the Complaint / Ar-
rest Affidavit.

IV. Stolen Vehicle Recovery
A. Avehicle determined to be stolen, when

practicable, will be released at the
scene to the owner.

1. Unless it was used in the commis-
sion of a crime (See Section Vil
Vehicle Holds — D1).

If the steering column or ignition switch

 

A. When the operator of a vehicle is ar- has been tampered with, or damaged
rested and the vehicie iS 1G be: a the vehicle shall not be driven away
pounded for safekeeping the following fori the eeacn
will apply: :

s 1. The vehicle will be released to the

1. A vehicle clearance check shall be - ;

ae ly if a private tow truck re-
made to determine its status and Se eee
owner information, i.e., VIN verifica- ee Oonear ‘ au oun ae
ma minutes or,

2. i a eto ot prisd igs ce. 2. The vehicle will be impounded and
hicte Storage Rereipt shall be towed by a rotation wrecker. A
praparad (See: Form 133-6), “Vehicle Storage Receipt” shall be

prepared. -
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C. When the vehicle owner cannot be con-
tacted to take custody of the vehicle
within a reasonable amount of time, the
vehicle will be towed by an on call rota-
tion wrecker and a “Vehicle Storage Re-
ceipt” will be completed.

D. In all of the above situations, PSCU
shall be notified of the vehicle's recovery
immediately following its release or tow.

E. Reports

1. If the vehicle was stolen outside the
Department's jurisdiction, a "Vehi-
cle Report” (See Form 015-DD)
will be completed under a Depart-
ment case number and the status
code of: recovered.

2. ‘If the vehicle was stolen from within
the Department's jurisdiction a
“Vehicle Report” under the original
case number will be completed.

V. Removal of Traffic Hazards or Obstruc-
tions

A. Attended Vehicles

1. Attended inoperable vehicles that
are obstructing a highway or road-
way, or are otherwise creating a
traffic hazard, will be removed by
the owner or person responsible for
the vehicle.

a. The owner / driver shall be
given a reasonable amount of
time depending on weather,
traffic, lighting conditions, and
other pertinent considerations,
to remove the vehicle.

b. If the vehicle continues to pre-
sent a traffic hazard, the
owner shall be given the op-
tion of having the vehicle
towed by a wrecker of his
choosing or by a contracted
rotation wrecker.

B. Unattended Vehicles

4. When unattended inoperable vehi-
cles that are obstructing a highway
or roadway, or is otherwise creating
a traffic hazard the following will
apply:

a. A vehicle clearance check
shall be made to determine its
status;

b. If it is not stolen or wanted, the
officer shall make a reason-
able effort to locate the owner
/ driver and have the vehicle
removed;

c. Ifa canvass of the immediate
* area or other attempts to lo-
cate the owner / driver are un-
successful, the vehicle shall
be towed by the contract rota-

tion wrecker

1) A “Vehicle Storage Re-
ceipt” shall be completed
and PSCU notified.

VI. Impound / Tow Procedures

A. When an officer determines that a vehi-
cle is to be towed / impounded he will:
[61.4.3b)

1.

Inspect the vehicle and visually de-
termine the vehicle identification
number (VIN) and license tag num-
ber.

Request PSCU to conduct a com-
plete check of the vehicle to deter-
mine ownership and status.

a. The Department is responsible
for ascertaining the name and
address of the owner / driver,
if applicable, and determining
the wanted status of the vehi-
cle prior to towing.

Complete a “Vehicle Storage Re-
ceipt’ containing the following in-
formation:

a. Name, address, and phone
number (if available) of the
registered owner;

b. Name, address and phone
number (if available) of the
driver;

c. Date and time of tow;

d. Location vehicle is being
towed from;

e. The wrecker service name;

f. Department case number;

g. Thereason for the tow;

h. Vehicle information: year,

make, model, body type, color,
vehicle identification number,

 

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10.

41,

license tag information (year,
state, tag number).

Visually inspect the exterior and in-
terior of the vehicle and note dam-
age on the "Vehicle Storage Re-
ceipt.”

it is essential that a complete in-
ventory be conducted of every ve-
hicle. When an officer initiates a
tow, he becomes responsible for
the vehicle. He is liable for the ve-
hicle, its parts, and contents.

The interior of the vehicle will be
carefully inventoried, including un-
der seats, in the trunk, and all
compartments, to determine items
present.

The contents of the vehicle include,
but are not limited to:

a. All packages and containers
located within the passenger
compartment;

b. The trunk, glove compartment
area; and

c. Any other secured and unse-
cured area of the vehicle.

To ensure that liability does not
attach for property located within
any package or container, the
contents of the package or con-
tainer, whether it is opened or
closed, will be accounted for and

inventoried.

a. If any container, trunk or com-
partment is locked, and the
key is not available, the officer
will contact a supervisor be-
fore taking any further action.

Valuable items which are portable
and al! firearms will be placed in
the Property and Evidence Unit for
safekeeping and noted on the “Ve-
hicle Storage Receipt’.

lf, during a routine inventory, evi-
dence, contraband, or proceeds or
instruments of a crime are discov-
ered, appropriate enforcement ac-
tion shal! be taken.

The tag will be removed and im-
pounded under a separate case

12.

13.

number with the appropriate case
report completed when:

a. The tag is stolen, but the vehi-
cle is not.

b. The vehicle is stolen, but the
tag is not.

c. The vehicle and tag are both
stolen, but are different cases.

d. The tag is needed as evi-
dence.

e. Circumstances require the tag
to be impounded separately.

Contact PSCU and request a con-
tract rotation wrecker.

a. Request for special equipment
(car-carrier, heavy-duty trucks,
etc.) are to be done at the time
of the initial request.

1} Reason for special re-
quests are to be docu-
mented on the Vehicle
Storage Receipt.

2) Reasons for additional
labor charges are also to
be documented on the
Vehicle Storage Receipt,
i.e.,

a) Wrecker on_ the
scene in excess of
thirty minutes;

b) Special equipment
" used by wrecker
service;

c) Removal of vehicle
from water;

d) Use of dollies;

e) Unlocking of vehicle;

f) Requirement for an
additional wrecker.

Provide PSCU with the following in-
formation after completion of the
Vehicle Storage Receipt and prior
to retuming to service.

a, Case Number.
b. Vehicle Description.

1) License tag number, state
and year.

 

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2) Decal Number.
3) VIN.

4) Vehicle color, year, make
mede! and style.

Reason for impounding or tow.
Condition of vehicle.

Tow company.

™ 2 ao

Name and unit authorizing a
hold, if applicable.

Vil. Vehicle Holds
A. A hold may be placed on a vehicle if:

1.

The vehicle used in the commis-
sion of a crime-hoid for forfeiture.

The vehicle is considered contra-
band by Florida Statute — hold for
forfeiture.

The vehicle is evidence — Hold for
specific unit, ie, AIU, CID, SIU,
etc.

The vehicle is crime scene needing
processing — Hold for crime scene

The vehicle has altered vehicle
identification numbers — Hold for
auto theft.

B. All holds require a Supervisor's signa-
ture on the “Vehicle Storage Receipt”.
The supervisor will be responsible that
the hold is justified.

C. For forfeiture hold see SOP #008 - For-
feitures & Vehicle Holds.

D. It is the officer's responsibility to contact
the specific entity and advise them that
there is a hold on the vehicle.

1.

If the vehicle is being held for proc-
essing it will be the responsibility of
the officer who placed the hold to
ensure that the Crime Scene Unit
receives a Crime Scene Processing
Request for the vehicle.

a, If the vehicle is part of a crime
scene, it will be secured and
not inventoried until it can be
processed by a Crime Scene
Technician.

1) This should be noted on
the Vehicle Storage Re-
ceipt.

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The appropriate specific entity su-
pervisor will assign the Vehicle
Storage Receipt indicating the hold
to an investigator for review and ail
necessary action.

a. The investigator will, in all
cases, write a Supplemental
Report within 5 days indicating
either releasing the vehicle or
stating a supervisor approved
reason for continuing the hold.

b. If the hold is to remain on the
vehicle longer than 5 days, the
investigator shall justify the
reason in the Supplemental
Report and write “vehicle is
to be removed from the tow
lot to the Department im-
pounds area (roof)”.

1) The appropriate specific
entry supervisor shall be
responsible for the timely
disposition of all vehicle
“holds” forwarded to their
unit.

c. In both instances, either when
the vehicle is released or re-
quested to be held for a long
period, the assigned investiga-
tor will personally hand deliv-
ery a Copy of the Supplemen-
tal Report to the Vehicle Re-
search Office.

E. Criteria and Procedures

1.

Major Crimes — When the vehicle
may contain certain physica! evi-
dence follow-up investigation relat-
ing to processing or an in-depth
search is needed.

AIU — When a vehicle has been in-
volved in a crash and a death or
high probability of a death occurs, a
mechanical inspection is needed or
a hit and run_ investigation is
needed, a hold for AIU will be
done. The hold is handled the
same as any other hold except that
a copy of the Vehicle Storage Re-
ceipt is to be sent to the AIU / DU!
Squad Supervisor in the Patrol Di-
vision and a Vehicle / Property Re-
port is to be completed justifying
the hold. After review by a Patrol
Sergeant, an on-duty investigator

 

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will be advised of the circum-
stances and approve the hold.

a. The officer completing the Ve-
hicle Storage Receipt will write
the authorizing investigator's
name on the form.

b. If there is no on-duty investiga-
tor available and the case
does not necessitate an on-
call response, the Patrol Ser-
geant shall personally place
the hold.

Auto theft — When circumstances
dictate that an actual physical in-
spection of the vehicle by an in-
vestigator is necessary, ie., the
vehicle's identification numbers
may be false.

a. Prior to placing an Auto
Crimes Squad hold, an on-
duty Patrol Vehicle Identifica-
tion Officer (VIO) shali inspect
the vehicle and co-sign the
vehicle Storage Receipt.

b. Ahold shall be placed solely
for the following reasons:

1) A recovered stolen vehi-
cle;

2) The vehicte has a stolen
tag or decal.

3) The vehicle has a tag that
is not assigned.

4) The ownership / registra-
tion is unknown or ques-
tionable. The officer may
write a report to initiate an
investigation into the ve-
hicles status if merited.

a) Note: The tow com-
pany assumes the
responsibility to re-
lease the vehicle to
the owner with proof
of ownership.

F. Other Agency Holds

1.

When an officer requests PSCU to
complete a check of a vehicle and
PSCU advised that an NCIC / FCIC
message has been received where
a hold for another agency has been

requested, the officer is to contact
a Patrol Supervisor.

a. After review by a Patrol Su-
pervisor, an on-duty investiga-
tor will be advised of the cir-
cumstances and approve the
hold.

b. The officer completing the ve-
hicle storage receipt will write
the authorizing investigator's
name in the area marked
"ClU-Detective x

c. If there is no on-duty investiga-
tor available (after hours) and
tne case does not necessitate
an on-call response, the Patrol
Supervisor shall personally
place the hold.

d. PSCU will respond via teletype
to the other agency with the
following message:

1) “Reference to your Case
# . M.B.P.D. Case
# . (vehicle
description, ie. VIN,
Tag), has been towed to

(name of
storage facility) and a
hold was placed for your
agency. The hold will not
exceed five (5) days.
Your agency is responsi-
ble for contacting the Ve-
hicle Research Office at
area code (305) 673-
7960 to cancel the hold or
make arrangements to
transfer the vehicle to
your agency within five
(5) days.

2) A written request from
your agency must be re-
ceived by the M.B.P.D. if
you want the hold on the
vehicle to be extended
past the 5" day. This re-
quest should be sent to
M.B.P.D. Vehicle Re-
search Office, 1100
Washington Avenue, Mi-
ami Beach, Florida
33139. Please contact
the above unit if your

 

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agency has any ques-
tions.“

Copies of the origina! teletype
requesting the hold and any
other teletypes pertaining to
the case are to be sent to the
following

ship shall include, but not be limited
to the following:

The original or certified copy of
the title certificate or a current
vehicle registration issued by
the any state.

b. Any duly executed document
1) Vehicle Research Office. prepared by the owner of re-
“ : cord which authorizes the

4 Unk pacng the hokt. claimant to obtain the vehicle.
3] Al Crimes: Squad: 1) Each claimant will be re-
4) All original teletypes to quired to establish proof
the Records Management of identify by means of
Section as a permanent current driver's license,
record. voter's registration, or
G. Vehicles Towed to the Police Station a EO

1. A vehicle can be towed to the po- :
: : 2) Any claimant unable to
a“ for the following rea- produce the foregoing
may be required to estab-
a. Only major crimes when mer- lish such proof by means
ited for processing or further of fingerprinting.

een. c. A properly completed title re-
b. Only when approved by a flecting the previous owner's
Criminal Investigation Division signature and a notary seal on
Supervisor who shall be re- the reverse side (Form 1), if a
sponsible for ensuring that the licensed automobile dealer
vehicle is removed by the end claims ownership, pursuant to

of the shift. Florida Statute, Chapter 319
1) If the case requires a d. An executed proof of loss

longer period, the lead in-
vestigator shall complete
a Supplemental Report
noting the reason. The
Supplemental Report
shall be signed by the in-
vestigator’s Sergeant and
Lieutenant indicating au-
thorization.

2) The lead __ investigator
shall request a desig-
nated location to park the
vehicle from the Property
and Evidence Unit

Vill. Releasing Vehicles and Holds

A. Documentation Needed to Release Ve-

hicle

1. The Vehicle Storage Receipt or
Vehicle Release will reflect the

Statement, evidence of pay-
ment of claim, and a bill of
sale, title certificate, or other
satisfactory evidence of own-
ership, if an insurance com-
pany claims ownership by vir-
tue of payment to the owner
for total loss.

When a claimant is unable to pro-
vide or establish proof of ownership
or entitlement, one of the following
may authorize a release after es-
tablishing entitlement by other
means.

b.
c.
d.

Impounding officer.

Lead investigator.
Vehicle Research Office.
PEU Commander.

B. Each respective component will handle
those vehicles held for them as indi-
cated on the Vehicle Storage Receipt.

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proof of ownership utilized to re-
lease the vehicle. Proof of owner-

 

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1. Vehicles will be immediately re-
leased by the assigned investiga-
tors once a determination by the
investigator is made to release the
vehicle by notifying the Property
and Evidence Unit (PEU) via a
Supplemental Report canceling the
hold.

2. The PEU Commander (or desig-
nee) is the only person who can
authorize the tow companies to re-
lease a hold on a vehicle.

3. This determination must be made
within five (5) days, excluding
weekends and holidays, so as not
to incur cost to the city.

C. The Vehicle Research Office’s Informa-
tion on the status of all vehicle holds is
available 24 hours a day / 7 days a
week,

1. The Vehicle Research Office will
contact the components with holds
on vehicles, on a weekly basis, re-
questing the status of the hold.

D. Florida Statute 323.001, Wrecker Op-
erator Storage Facilities; Vehicle Holds,
will govern the Department's actions in
these cases. The statute states:

1. An investigating agency may place
a hold on a motor vehicle stored
within a wrecker operator's storage
facility for a period not to exceed
five (5) days, excluding holidays
and weekends unless extended in
writing.

2. The investigating agency must no-
tify the wrecker operator in writing
within five (5) days, excluding holi-
days anc weekends, whether the
hold is to be continued. If no notifi-
cation follows this period of time,
the wrecker operator may release
the vehicle to the designated per-
son pursuant to s. 713.78.

a. lf the hold is to continue be-
yond five (5) days, excluding
holidays and weekends, the
investigating agency may have
the vehicle removed to a des-
ignated impound lot, in which
event the vehicle will not be
released by the investigating
agency to the owner or lien

holder of the vehicle until proof
of payment of the towing and
storage charges incurred by
the wrecker operator is pre-
sented to the investigating
agency.

b. If the investigating agency
chooses to have the vehicle
remain at the wrecker opera-
tor’s storage facility beyond
five (5) days, excluding holi-
days and weekends, pursuant
to the written notification, the
investigating agency shall be
responsible for payment of the
storage charges incurred by
the wrecker operator for the
requested extended period. In
such an event, the owner or
lien holder shall be responsi-
ble for payment of accrued
towing and storage charges
for the first five (5) days, ex-
cluding holidays and week-
ends, when the investigating
agency either moves the vehi-
cle from the wrecker opera-
tor's storage facility to a des-
ignated impound lot or pro-
vides written notification to ex-
tend the hold on the vehicle
prior to the expiration of the
five (5) days, excluding holi-
days and weekends.

c. The towing and storage rates
for the owner or lien holder of
the held vehicle shall not ex-
ceed the rates for the investi-
gating agency.

if there is a judicial finding of no
probable cause for having contin-
ued the immobilization or im-
poundment, the __ investigating
agency ordering the hold must pay
the accrued charges for any towing
and storage.

The requirements for a written hold
apply when the following conditions
are present:

a. The officer has probable
cause to believe the vehicle
should be seized and forfeited
under the Florida Contraband
Forfeiture Act, ss. 932.701-
932.704:

 

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b. The officer has probable
cause to believe the vehicle
should be seized and forfeited
under s. 372.312;

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h. The name, address, and tele-
phone number of the wrecker
operator and the storage facil-

ity.

c. The officer has probable 6. Awrecker operator's storage facility
cause to believe the vehicle must comply with a hold placed by
was used as the means of a law enforcement officer, including
committing a crime; instructions for inside or outside

torage, A wrecker operator's stor-

d. The officer has probable . -
polese teiiccliawce thet the vehi: age facility may not release a motor
cle is itself evidence that tends vehicle subject to 2 hold tovany
id chica Whak'a Grividhiss been person except as directed by the
committed or that the vehicle law erforcemem; agency: paging
contains evidence, which can- thethold,
not readily be removed, which 7. When a vehicle owner is found

tends to show that a crime has
been committed;

e. The officer has probable
cause to believe the vehicle
was involved in a traffic acci-
dent resulting in death or per-
sonal injury and should be

guilty of, or pleads nolo contendere
to, the offense that resulted in a
hold being placed on his vehicle,
regardiess of the adjudication of
guilt, the owner must pay the ac-
crued towing and storage charges
assessed against the vehicle.

sealed for investigation and E. |Impound Vehicles
collection of evidence by a ve- .
: ae gi 2 . 1. Impounded vehicles will not be re-
healer homicide Investigates leased without written authority of
f. The vehicle is impounded or the impounding officer, his immedi-
immobilized pursuant tos. ate supervisor, confiscations officer
316.193 or s. 322.34; or or the concerned entity supervisor.
g. The officer is complying with a a. The Vehicle Research Office
court order. will be notified immediately to
The hold must be in writing and alan of Wee Ieee Of 2
+e. hold.
must specify:
IX. Impounding Stolen Vehicles From
a. The name and agency of the Wrecker Company
law enforcement officer plac-
ing the hold on the vehicle; A. Upon discovering a stolen vehicle on the
. . premises of a wrecker company, an offt-
b. The date and time the hold is cer may impound the vehicle if:
placed on the vehicle;
S. AWENBRaaBeRMOONT BETH 1. It is necessary to remove the vehi-
. vehicle acid ding te cole! cle to another location for the pur-
make, model, body style, and poses of processing it for evidence.
year; 2. The vehicle will be needed as evi-
d. VIN (Vehicle Identification dence in a criminal investigation.
Number); registration license 3. The vehicle is removed pursuant to
plate number, state, and year; a search warrant.
and validation sticker hUmbe, B. If the vehicle is not to be impounded, the

state, and year;

e. The specific reason for placing
the hold;

f. The condition of the vehicle;

g. The location where the vehicle
is being held; and

officer will report the recovery as out-
lined in section IV of this SOP.

a

The officer shall leave the recov-
ered stolen vehicle in the posses-
sion of the wrecker company. A
Vehicle Storage Receipt will be

 

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completed with “STORAGE 8. Notify the PEU Commander of any
ONLY” written boldly across the property left inside a vehicle which
top. The officer wili secure the sig- has not been accounted for in the
nature of the wrecker company rep- tow sheet. The Division Com-
resentative for release of the vehi- mander of the unit responsible for
cle on the scene, where the owner / towing the vehicle will then be noti-
driver signature is indicated on the fied for further follow-up.
Vehiaie Storage Receipt: 9. Receive a list of city towed vehicles
C. A stolen vehicle recovered at a wrecker to be auctioned, verifying that they
company shall not be impounded for the are not a FCIC / NCIC hit and en-
sole purpose of returning it to the titled suring that the tow company has
owner. met Florida State Statutes in the
D. The impounding of stolen vehicles dis- Geponee Of ihe merece.
covered pursuant to an inspection con- 10. Monitor police tows that are desig-
ducted under Florida Statute 812.055 nated as “holds”, ensuring that
(physical inspection of junkyards, repair within five (5) days the appropriate
shops, parking lots, public garages, tow- Department unit notifies the Vehicle
ing / storage facilities, etc.) shall also be Research Section requesting the
governed by the above guidelines. vehicle to be moved to the station
M.. Vellicte Resemck ONES ae area for further investiga-
A. icmote Office:Is fasponetble 11. Receive and maintain a file of any
complaints regarding the tow com-
1. Ensure that a Vehicle Storage Re- pany and when appropriate refer to
ceipt is received for all towed vehi- the designated City Department for
cles, and that necessary correc- handling. Designated departments
tions are made and provided to the may include the Department's lega!
PSCU message center, CAD sys- advisor, Parking Department and
tem and any other system related any other City Department that di-
to towed vehicles. rectly affects the operation of the
2. Visually inspect the impound lot on aa
a routine basis to confirm the status 12. Coordinate information with the
of vehicles impounded by the De- confiscation officer and legal advi-
partment. sor regarding al! vehicles to be
seized for confiscations / forfeiture.
3. oo me eeneae center of re- This witl be accomplished by pro-
: viding to the confiscations officer
4. Provide a status report of the num- copies of Vehicles Storage Re-
ber of vehicles towed and im- ceipts, lien holder information and
pounded on a monthly basis. The biue book value of the seized vehi-
above status report will provide an cle. Notices of seizure or written
account of the Department's sur- notification from the confiscations
charges owed for each towed vehi- Officer will then cause said vehicle
cle. to be relocated to the Department
5. Confirm that tow companies are Storage area.
meeting their contractual obliga- 13. Maintain a file on all vehicles being
tions. held pursuant to Florida Statute
. 5 . 322.43(5a). The FCIC response to
6. tine bloans, Oa chic eal a vehicle check on this hold will be
ink. Pa rking Depa ate and ‘clot “Florida Authorities Only ~ Impound
: vehicle if driver is owner or co-
components of the Department. caanvee*
7. Provide a central location for ail in-

quiries concerning impounded and
towed vehicles.

a. The Vehicle Research Office
will be responsible for notifying

 

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the tow company of this hold
and provide the tow company
with the following information:
Any  co-registered owners
other than the person ar-
rested, any person of record
claiming a lien and any lessor.

b. The Vehicle Research Office
will be responsible for releas-
ing the hold on the vehicle if
the following occurs.

1) Lessor or lien holders
claim the vehicle.

2) The owner presents proof
of insurance.

3) The owner presents proof
of sale.

4) The buyer presents proof
of insurance.

Xi. Contract Tow Company

A. Contract tow companies are required
pursuant to the City contract, to maintain
a daily record reflecting the following in-
formation: [61.4.3c]

1. Number of service calls requested
by the Department

2. List of impounded vehicles.

3. Vehicle owner contacted and by
what means.

4. Hold order on each affected vehi-
cle.

5. Date of vehicle release, recipient's
name, and authority.

B. A contract tow company is responsible
for:

1. A Vehicle Storage Receipt must be
completed by an officer before a
contract service tow is hooked up,
unless the vehicle is being towed at
an owner / driver request.

2. Notifying the owner of a towed ve-
hicle.

3. Meeting the contractual response
time of twenty (20) minutes for a
police tow.

C. Tow Charges

1. The vehicle owner / driver is re-
sponsible for all towing, service and

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storage charges, which are paid di-
rectly to the towing contractor. Ex-
ceptions to this policy must be re-
quested via memorandum from a
unit supervisor (lieutenant or
higher) to the PEU Commander.
Unauthorized towing and storage
bills accepted by Department em-
ployees will be referred to the em-
ployee’s Commander for resolution.

2. Towing and service charges begin
to accrue after complete mechani-
cal connection is made. Officers
who order a wrecker operator to re-
lease a vehicle without payment of
these charges place the Depart-
ment in violation of the City of Mi-
ami Beach Tow Truck Services
Contract, and the Department be-
come liable for the charges to the
contractor.

3. Officers have the right to cancel a
request for services of a participat-
ing contractor at any time prior to
hook-up, which is defined as a
complete mechanical connection.
The mere response to a service
scene without further action does
not constitute a service for which
charges are applicable.

DEFINITIONS:

For procedural purposes, the following definitions
are applicable:

VEHICLE — As defined by Florida Statute

316.003; e.g., motor vehicle, trailer.

TOWED VEHICLE — A vehicle which the officer
causes to be removed from the scene and which
may be released at the discretion of the towing
service or storage facility.

IMPOUNDED VEHICLE — A vehicle which is be-
ing held in custody by virtue of a police order and
which requires permission of the impounding au-
thority to release.

OWNER’S REQUEST - a motorist who requires:

a. Police assistance for contacting any
wrecker service after experiencing me-
chanical problems.

b. A specific wrecker service after vehicle
was involved in a traffic crash or crime in
which the owner or driver is not a subject.
All taw enforcement involvement with the

 

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vehicle must be completed before it is
towed.

 

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FC:TS:PSU:SOP #133 REVISED

APPROVED BY:

Athtllirgcc.

Donald W. De Lucca
Chief of Police

References to Form Book:

Form 015-W- Owner / Driver / Designee Re-
lease Form

Form 133-B- Vehicle Storage Receipt

Form 015-DD - Vehicle Report

 

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POLICE

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INVENTORY SEARCH - TOWED/IMPOUNDED VEHICLES

 
 

 

CALEA Standard(s): 1.2.4

 

 

 

 

PURPOSE: To provide guidance and clarify employee responsibilities regarding the
inventory of seized vehicles pursuant to Standard Operating Procedure
(SOP) #133, Towed/Impounded Vehicles, section VI through the addition
of number 14.

SCOPE: This General Order (GO) will be read in conjunction with SOP #133 -
Towed/Impounded Vehicles. This GO applies to all employees legally
authorized to affect a vehicle tow and is effective immediately.

 

POLICY: It is essential that a complete inventory of every vehicle be conducted
pursuant to SOP #133. When a legally authorized employee initiates a
tow, he/she becomes responsible for the entire vehicle - the vehicle, its
parts, and its contents. (1.2.4)

 

PROCEDURE:
Vi. Impound/T ow Procedures

14. All vehicle inventories will be recorded on an officer's body worn camera
(BWC). If the inventorying employee is not equipped with a BWC, an
officer so equipped will respond to the vehicle’s location. The inventory
will not begin until an officer equipped with a BWC is on scene. The entire
inventory will be recorded, the OIR notated that the inventory was
captured on a BWC, and the BWC inventory data will be downloaded
pursuant to SOP #152, Body Worn Cameras.

 

 

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APPROVED BY: GOVERNMENT
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Daniel J. Oates NO. 18-20889-CR-JEM
Chief of Police aan
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Effective Date: 09/15/14 ~ ~ GO#HI7-03

 

 

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MIAMIBEACH

POLICE

STANDARD OPERATING PROCEDURE

 

SOP #152

 

 

 

BODY-WORN CAMERAS

 

CALEA Standard(s): 1.2.3; 17.5.3; 41.3.8; 83.2.2; 84.1.1

 

 

 

 

PURPOSE:

To establish procedures and guidelines for the use, operation and maintenance of body
worn cameras (BWC) by Department employees. This SOP rescinds General Order
16-03 effective immediately.

SCOPE:
This Standard Operating Procedure (SOP) applies to all Department employees.
POLICY:

The Department will utilize BWCs to document law enforcement interactions with the
public by recording evidence of actions, conditions and statements. Employees have a
legal right to capture and record footage during all official interactions. (41.3.8)

DEFINITIONS:

BODY WORN CAMERA - a portable electronic recording device that is worn on a law
enforcement officer’s person that records audio and video data of the officer's law
enforcement related encounters and activities.

BUFFERING MODE - When the BWC is in the on position until such time the record
button is depressed.

CALL FOR SERVICE - Any dispatched or self-initiated activity by any employee to
resolve, correct or assist in a particular situation.

DEADLY FORCE - Force that is likely to cause death or great bodily harm as defined in
FS 776.06.

GREAT BODILY HARM - An injury that creates a substantial risk of death, causes
permanent disfigurement or results in long-term loss or impairment of the functio

 

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any bodily member or organ. GOVERNMENT
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ISSUED BWC - Collectively means an issued or replacement BWC authorized and
configured by the BWC System Administrator or designee.

RECORDING MODE - When the BWC record button has been pressed twice and is

recording.

PROCEDURE:

General Rules Regarding BWC Operation and Use

A.

Body worn cameras will be issued to all sworn personnel, Public Safety
Specialists and the Road Rangers, for use during on-duty and overtime
assignments.

Sworn members assigned to Patrol up through the rank of lieutenant are
required to activate their BWC in recording mode during all citizen
interactions, incidents and calls for service, self-initiated field activities,
arrests, interviews, transports, investigations and initial response to a call
for service, crime scene or other police event.

Detectives assigned to the Crime Suppression Teams will activate their
assigned BWCs during all citizen interactions, incidents and calls for
service, arrests, transports, investigations and initial response to a call for
service, crime scene or other police event.

Members assigned to the Criminal Investigations and the Support
Services Divisions, up through the rank of lieutenant, when engaged in
uniformed assignments, will wear and operate their assigned BWC in the
same manner as patrol officers pursuant to this SOP.

All Detectives will activate their assigned BWCs when making an arrest of
a suspect. The purpose of the BWC activation is to document the
handling of the suspect at the time of arrest and to capture the suspect’s
search incident to arrest and any spontaneous statements made or other
evidence seized.

Detectives will turn their BWC on to recording mode at the point when the
detective arrives at an ongoing crime scene to capture spontaneous
statements, expressions and body language. Detectives will keep their
BWC recording until initial investigatory police action has finished.

All detectives will activate their assigned BWC during the execution of
search warrants at the time when there is an active physical search.

The Department recognizes that situations may exist in which, due to
tactical and safety considerations, a detective cannot utilize the BWC. In
these instances detectives are required to document in the incident report
the reason they did not record an activity.

 

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I. With the approval of his/her supervisor, an individual member of a Crime
Suppression Team (CST) will not be required to wear a BWC while
working in an undercover capacity or in the support of an undercover
investigation by another unit or agency. Any pre-planned operation will be
guided by an operations plan written prior to the execution of the operation
that will specify which portion(s) of the operation and which personnel will
be exempt from the use of BWCs. The Street Crimes Captain or designee
will approve any such operations plans.

Ji BWCs will be worn in a location designated by the Chief of Police or
designee with input from the Training Unit, BWC instructors and with
appropriate consideration given to practical factors such as BWC
configuration and tactical operations. The designated position of the BWS
is the center of the chest area, not blocking the employee’s name.

K. The BWC will be worn, utilized and maintained in a state of operational
readiness during the employee’s entire shift. When not in use, officers will
maintain their BWC in its assigned location.

L The BWC will be activated during all interactions with a detainee, including
transportation of the detainee to the proper receiving facility and holding
areas. The BWC will be activated at all times while interacting with a
detainee or performing administrative functions in the Juvenile Processing
Area.

II. Specific Rules Regarding Activation and Deactivation of the BWC.

A. Employees will wear their assigned BWC in the buffering mode at all times
until they are expected to record an event other than for the exceptions
listed in this SOP.

B. Employees are not legally obligated to advise people that they are being
recorded by the BWC. If asked, employees will acknowledge that their
BWC is recording.

C. Officers will immediately activate in recording mode their BWC upon
arrival at a call for service and announce via the police radio “arrival -
BWC activated.”

D. The BWC will remain in recording mode until the conclusion of an
incident/encounter or a supervisor has instructed that a recording be
stopped. Officers will document on the BWC and in the case report that a
supervisor has authorized that a recording be stopped as well as the
authorizing supervisors’ name.

E. Any officer that takes an action that results in death or great bodily harm
to another person or an officer(s) who is a witness to such an incident will
deactivate his/her BWC after the scene has been declared secure by the
on-scene incident commander or on-scene supervisor.

 

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E; There is no expectation of privacy in a person’s residence or other
building when an officer lawfully enters the residence or other building
when the officer has been granted consent to enter, to serve a warrant or
under exigent circumstances. In those instances the BWC will remain
activated other than in those exceptions articulated in this SOP.

G. Employees who activate the BWC while on duty or on an overtime
capacity are required to document use of the BWC at the end of all
related Case Reports, Case Supplemental Reports, CID Supplemental
Reports, Arrest Affidavits or in CAD notes if no report is required.

H. In the case of a BWC recording images of undercover officer(s),
confidential informant(s) and/or other persons who may be exempt or
protected from disclosure under state or federal statutes, a notation of the
exempt or protected images will be included at the end of the
Complaint/Arrest Affidavit and/or Case Report.

I. When an arrest is made, the name and court identification number of
every employee who recorded BWC footage related to the incident will be
listed on the last line(s) of the Complaint/Arrest Affidavit narrative.

J. Employees using a BWC during an interview, interrogation, statement,
confession and/or utterance will: [1.2.3 a-c; 41.3.8¢]

1. Document the existence of a recorded statement on all related
reports; (84.1.1¢]

2. Properly record Miranda Warnings when given;

3. Attempt to secure a signed consent and/or waiver forms;

4. Document all consents, waivers and/or refusals on the BWC and in
writing; and

5: Supplement the BWC with a traditional digital audio recording
device when available.

K An employee who fails to activate their BWC when required will:

ds Notify his/her immediate supervisor as soon as practicable, but no
later than the end of their tour of duty or detail; and

2 Document the name of the supervisor notified and the reasons for
failing to activate the BWC on all reports related to the incident.
When no reports are required, a CAD incident will be generated
and documented in CAD notes. [41.3.8]

Ls Employees will notify their supervisor at the conclusion of any encounter
that may generate a complaint.

 

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M. Employees who are in doubt about recording an incident will activate their
BWC and request guidance from their supervisor at the conclusion of the
event.

N. All vehicle inventories will be recorded on an officer's BWC. If the
inventorying employee is not equipped with a BWC, an officer so equipped
will respond to the vehicle’s location. The inventory will not begin until an
officer equipped with a BWC is on scene. The entire inventory will be
recorded, the OIR notated that the inventory was captured on a BWC, and
the BWC inventory data will be downloaded pursuant to this SOP.

Ul. Prohibitions

A. No employee may utilize a BWC not authorized and issued by the
Department. The unauthorized use of a Department BWC or other
electronic media and/or BWC recordings and/or audio recordings is strictly
prohibited. All Department personnel are strictly prohibited from:
1s Removing, dismantling or tampering with any hardware or software

associated with the BWC;

2. Destroying, altering, deleting, modifying, tampering, editing or
disseminating any electronic data associated with the BWC;

a Downloading or converting any BWC electronic data for
personal use;

4. Allowing a citizen to view a BWC recording at the incident scene or
at any other time unless directed by a supervisor in response to a
complaint and or allegation;

i Copying or sharing any BWC electronic data other than articulated
in this SOP;

6. Recording on the BWC any particular person based solely on the
persons’ race, color, religion, national origin, sex, age, marital
status, personal appearance, sexual orientation, gender identity or
expression thereof, homeless status, physical disability, political
affiliation or any other recognized protected status;

7. Activating the BWC during strip searches;

8. Activating the BWC upon arrival at a treatment facility that would
include, but not be limited to a hospital, psychiatric facility or
trauma and/or support center if the individual to be interviewed
does not wish to be recorded.

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18.

BWC recordings during discussions with other law enforcement
personnel concerning tactical, investigative and/or administrative
strategies or options of a specific case;

BWC recordings during conversations with confidential informants
and undercover officers to protect confidentiality and officer safety;

BWC recordings while performing administrative functions, such as
report writing, after the citizen/arrestee interaction has ended;

BWC recordings in court;
BWC recordings while on breaks;
BWC recordings during discussion of a case with other officers;

BWC recordings during conversations with Department personnel
without their knowledge;

BWC recordings in the DUI testing rooms during the testing
process. BWC’s utilize technology that interferes with the breath
testing instrument. All BWC’s, BWC Portable Media Players, police
radios, cellular phones and any other devices utilizing Bluetooth®
technology will be secured outside the DUI testing rooms.

The prohibitions set forth in this section do not apply in
circumstances where the BWC is recording conduct pursuant toa
specific law enforcement action approved by the Chief of Police or
designee.

The use of a BWC for personal reasons and/or the uploading or
posting of electronic media onto any public and/or social media
website and/or storing any BWC on any storage medium not
approved by the Department is strictly prohibited.

B. Officers and Detention Officers are not required to activate their BWC:

1.

While performing administrative functions at the Main Prisoner
Processing Area contro! counter desk console; and

While performing administrative functions, such as report writing,
after the prisoner has been secured inside a holding cell in the Main
Prisoner Processing Area or Criminal Investigation Division
Prisoner Processing and Holding Area.

 

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IV. Critical Incidents and Special Circumstances

A.

During the course of a shift, officers equipped with a BWC may encounter
situations where critical incidents or special circumstances are captured
on video. Those situations require an immediate response from
investigative units and include, but are not limited to, the following:

a Officer-involved contact shootings;

2 Officer-involved non-contact shootings;

3. In-custody deaths;

4. Officer-involved traffic crashes with fatalities or serious injuries;
5: On-scene complaints of excessive force; and

6. Death or great bodily harm to an employee.

The BWC will remain affixed to the employee in the same position as it
was affixed throughout the event and will not be handled unless
emergency medical attention is necessary and requires that the device be
removed.

The lead investigator, with the assistance of a Crime Scene Technician,
will retrieve the BWC device from the employee and process it according
to the investigating agency's standards for the handling of evidence. In
addition, the lead investigator or his/her designee will also coordinate the
response of a Department BWC Administrator or his/her designee, who
will be responsible for the recovery and storage of all video evidence
captured on the device. Each transfer of custody will be documented
pursuant to SOP #006 - Evidence.

The BWC System Administrator or his/her designee will download the
BWC video in the presence of the lead investigator. The download will be
performed in a secure location accessible only to the BWC System
Administrator.

Officers equipped with a BWC will be cognizant that any conversations
following the event will be captured on the BWC. Therefore, protected
conversations with counsel, clergy or family will not take place until the
BWC is turned off.

V. Supervisory Responsibilities

A. Supervisors will ensure that employees comply with all BWC policies,
procedures and training.
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B. Supervisors will check the operational readiness of the BWC as part of the
line inspection process to include turning the BWC on, checking the
record function and turning the BWC off. Non-operational equipment will
be noted and sent for repair as soon as possible. Officers who discover at
any time during their shift that the BWC is damaged or malfunctioning will
immediately notify their immediate supervisor.

C. Supervisors will document circumstances in which an employee failed to
activate the BWC, improperly deactivated the BWC or captured
restricted/prohibited video. Supervisors will submit a memorandum
detailing the findings to their Division Commander via the Chain of
Command.

D. The Division Commander will direct further action if he/she determines
that an employee’s acts were intentional or avoidable.

E. If the Division Commander determines that a restricted/prohibited
recording was inadvertent or unavoidable, the details of the incident will be
provided to the Chief of Police, who will provide further direction to the
BWC System Administrator or his/her designee.

F. In cases where the immediate retrieval of BWC data is required,
supervisors will collect the BWC from the employee and dock the BWC
into the Evidence Dock. Upon completion of the video upload, the BWC
will be returned to the employee and involved personnel will be notified
when the video is available for review.

G. With the exception of officer involved shootings or other incidents that
result in great bodily harm or death, supervisors will review BWC video in
all cases where there was a use of force, pursuit, injury to officer, injury to
prisoner, citizen complaint or any other circumstance where the video may
clarify events.

H. Supervisors will document their reviews in a report appropriate to the
incident. [41.389]

I. Supervisors will notify their Chain of Command of instances where a
controversial citizen-police encounter has occurred. The employee’s
Captain may review the encounter and set the appropriate category for
retention. Other Command Staff members and/or the City Attorney or
his/her designee may be consulted if clarification is required.

J. Supervisors have an obligation to confer with officers at the end of each
tour of duty to ensure that BWC recordings are categorized, identified and
preserved pursuant to this SOP.

 

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Vi. | BWC System Administrator will be responsible for:

A. Setting and maintaining user and group authority levels, passwords and
any other required configuration of the evidence storage system under
direction of the Chief of Police or designee;

B. Managing inventory, issuing devices, training and updating device
settings;

C. Assisting with manual uploads to the external cloud server, when
necessary;

D. Handling recordings to include restricted/prohibited footage pursuant to
direction from the Chief of Police or his/her designee;

E. Managing the list of categories and notifying supervisors when users fail to
categorize their BWC recordings or otherwise fail to properly use, store or
maintain their issued BWC;

F. Providing support to Department employees in all aspects of the BVVC and
video storage system;

G. Providing audit reports of monitoring and log access to recorded, deleted,
copied and/or edited recordings;

H. Maintenance of a system for the management of video retention and video
purging;

I. Conducting quality assurance reviews when directed by the Chief of
Police or his/her designee; and

J. Monitoring the Department's use of BWC with a documented annual
review to identify necessary policy and procedure modifications, program
continuity and review of camera-captured data, frequency and quantity.
The documented annual review will be completed by March of each year
and forwarded to the Chief of Police via the Chain of Command. [41.3.8b,c,e,9}

Vil. BWC Electronic Media Storage

A. BWC electronic media will be downloaded at the end of each shift prior
to being placed back in service. All electronic data and media are the
property of the Department.

B. Each Patrol officer will wear their assigned BWC during their entire tour of
duty, absent a BWC malfunction. Any malfunction will immediately be
reported to the on-duty supervisor and a replacement obtained if available
pursuant to this SOP.

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Officers will retrieve their assigned BWC at the beginning of their shift. A
BWC with a depleted battery must be docked as reasonably soon as
possible. An employee docking a BWC for this reason prior to the
completion of a regular or overtime shift, must promptly notify his/her
immediate supervisor of the BWC’s status via Department email.

Vill. BWC Electronic Media Retention and Public Records Requests

A.

All video recordings collected using the BWC system are official records
and are the exclusive property of the Department. BWC electronic
media will be maintained pursuant to the State of Florida Records
Retention Schedule. The Department will retain any video captured by
Department issued BWCs for a minimum of 90 days except as set forth
below:

1. Recorded video associated with an arrest, use of force, pursuit,
criminal investigation, Internal Affairs investigation and/or
complaint against an employee will be retained pursuant to the
General Records Retention Schedules established by the Florida
Department of State and instructions from the City Attorney or
his/her designee.

i Vehicle crashes involving an employee and events involving injury
to an employee and/or citizen or any recording of an event or public
interaction the officer or his/her supervisor reasonably believe could
lead to litigation against the officer or the City of Miami Beach will
be retained for five years.

3. Police interaction or delivery of police services that may be
perceived as controversial will be reviewed by the employee’s
Captain. The Captain will set the appropriate category for retention
in conjunction with the City Attorney or his/her designee.

The Department will invoke appropriate exemptions set forth in Florida
Statutes, Chapter 119 or any other statutory provision limiting or restricting
access to video recordings or metadata in cases involving officer-involved
shootings, serious use of force, officer misconduct or any other
circumstances as determined by the Chief of Police or his/her designee.
This section will not be read to obstruct or interfere with an employee’s
rights as provided by Florida Statutes or Department policy.

All BWC recordings will be uploaded to the contracted vendors cloud
server. The Department reserves the option to utilize alternative storage
methods on a case-by-case basis at the discretion of the Chief of Police or
his/her designee.

 

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The BWC System Administrator or his/her designee will redact or exempt
confidential footage pursuant to the applicable state or federal statute prior
to releasing any recording(s). [41.3.8c.d,g]

Employees will refer all citizen requests for BWC video to the Records
Section.

Release of BWC recordings will be governed by Chapter 119 of the
Florida Statutes or other Florida or Federal law. No electronic media will
be released to Department personnel or another criminal justice agency or
organization for trial or other reasons without prior approval from the Chief
of Police or designee. No information contained on any electronic
medium will be released to any other person absent the prior approval of
the Chief, his designee or by legal requirement. The Chief of Police or
designee will be notified prior to the release of any electronic medium
pursuant to any legal requirement.

The Chief of Police or designee will authorize the release of BWC
recordings pursuant to this SOP, Public Records Request requirements
and/or other legal precedent. This process will include reviewing BWC
recordings to locate the requested recordings, determining which portions
are subject to public release under Public Records Request requirements
and/or other legal precedent and redacting any portions that state law
prohibits from disclosure.

In certain cases, the Department may opt to release BWC camera
recordings. The release of any BWC recordings must be authorized by
the Chief of Police or designee prior to such release.

Whenever possible and without compromising the evidentiary content of
any recordings, the images of persons not involved in an incident will be
redacted prior to release of the recording, if applicable.

Complete confidentiality is required of all personnel. Personnel will hold
all recordings in trust and will not divulge, disclose, convey, transmit or
otherwise make known or available any recording to any person or entity
other than as directed by this SOP.

 

IX. | Review and Release of BWC Electronic Media
A. Recordings may be viewed by:

1. Employees, supervisors and investigators when preparing incident
reports to ensure the accuracy and consistency of their
documentation;

Zi An involved employee prior to making a statement concerning a
recorded incident that might be used in an administrative review or
court proceeding; and

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B.

a The City Attorney or his/her designee with notice to the Chief of
Police.

Recordings may be accessed:
1. Immediately, via the portable media player; or

2. By accessing the cloud server once all the data has been uploaded.

X. Categorizing BWC Recordings

A.

Employees will accurately categorize and identify BWC recordings at the

conclusion of each incident, but no later than the end of their tour of duty.
[84.1.1a]

Employees will contact their supervisor if they need assistance with
identification or categorization or retention guidelines. The supervisor may
contact the BWC Administrator or his/her designee for further assistance
as needed.

BWC recordings may document the discovery and/or collection of
evidence. Employees, investigators or supervisors will categorize BWC
recordings to preserve footage of evidentiary value. (83.2.2)

Employees will identify (ID Field) each recording with the CAD
incident/case number.

BWC devices will be placed in the Evidence Dock at the conclusion of
each employee's on-duty or overtime detail. Evidence Docks are located
in the Headquarters roll call room and Criminal Investigation Section and
at the North End Substation. Once docked, the BWC will not be removed
until the upload process has been completed.

Supervisors may review BWC video recordings in the following
circumstances:

1. Independently or when requested by an employee to document
performance, heroic actions and/or other commendable service for
appropriate recognition and commendation;

2: To investigate a complaint against an employee or a specific
incident in which the employee was involved;

3. When there is a pattern of allegations of abuse, misconduct or the
Personnel Early Warning System (PEWS) has triggered;

4. To identify videos for training purposes and instructional use;

 

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5; To monitor the performance of an employee in their chain of
command and/or during an officer's probationary status; or

6. When officers agree to a more intensive review as a condition of
employment.

Supervisors, at the direction of the Chief of Police or designee, may
conduct random audits of BWC video recordings to monitor compliance
with the program and assess overall employee performance. Audits will
be truly random and not be used to target a specific officer.

1. The Internal Affairs Unit Commander or designee will be
authorized to review BWC recordings. A specific review may
be requested by a supervisor.

Zi Common situations in which supervisors may ask for a review of
BWC electronic media include, but are not limited to, the
investigation of a complaint against an officer or a specific incident
in which the officer was involved.

3. Any officer or supervisor can recommend, through their chain of
command by memorandum to the Support Services Division
Commander, that a particular BWC recording be used for training
purposes. The Support Services Division Commander will review
the specified recording to determine its training value.

At a minimum quarterly, the BWC Administrator or designee will conduct a
random documented quality assurance review of at least five of the BWC
recordings to ensure compliance with this SOP. In addition to the
quarterly review of at least five BWC recordings, Division Majors will
conduct periodic quality assurance reviews of BWC recordings at their
discretion. [41.3.8g]

The BWC Administrator or designee will conduct a forensic review if the
BWC malfunctioned.

XI. Maintenance [17.53; 41.3.8e]

A.

Employees will inspect their BWC and all associated equipment at the
beginning of their shift.

Employees will ensure that the BWC lens and microphone are clear of
debris that may obstruct or in any way degrade images or audio.

Employees will ensure their BWC battery is charged at the start of their
shift or assignment.

Any damage, malfunction or other operational problem will be immediately
reported to the employee’s supervisor.

 

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Xll.

When notified that a BWC is damaged, malfunctioning or has an
operational problem, the supervisor will inspect the device and decide
whether to continue using the BWC or have the officer return it for
replacement. Supervisors must consider the extent of damage and the
availability of spare or replacement devices. The supervisor will notify the
BWC Administrator or his/her designee in writing of the damage,
malfunction or other operational problem.

BWC devices will be inspected and documented during semi-annual Line
Inspections.

BWC System Administrator or his/her designee will evaluate all devices
turned in due to damage or malfunction.

Any device which cannot be repaired by the BWC System Administrator
will be sent for repair or disposed of appropriately.

Spare BWCs will be housed within the Body Camera Depot (BCD) and will
be marked Spare 01 - Spare 10.

The spare BWC will be signed out via the PEU Equipment Sign-Out Log.
Once the spare BWC is signed out, the employee’s supervisor will contact
the on-call BWC Administrator or his/her designee to activate the device.

Training

A.

B.

BWC training is required for all Department personnel who may
use or otherwise be involved with BWC’s prior to using a BWC.
The BWC System Administrator or designee will ensure that all
BWC training meets current manufacturer guidelines and
specifications.

BWC training will include the following:
1. | Adocumented review of this SOP;

2. An overview of:

a. Public records requests;

b. Evidence management software;

C. Nomenclature;

d. Procedures for the proper operation of the equipment:

e. Video transfer procedures;

f. Identification and categorization of BWC video evidence;

 

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g. Security;

h. Retention guidelines;

i. Reporting improper recordings;

j. Preparing and presenting digital evidence for court;

k. Hands-on exercises that replicate operating the BWC;
I. Procedures for downloading BWC electronic media;

m. Procedures for accessing and reviewing BWC electronic
media; and

n. Procedures for documenting and reporting any
malfunctioning BWC

Refresher training will be conducted by the BWC Team,
at a minimum, biennially.

Xlll. Compliance to SOP

Violation of any part of this SOP may result in discipline.

 

DJO/Ib/ab/pjp
APPROVED BY:

Bomb f. Obs

Daniel J. Oates
Chief of Police

 

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